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                                CPL Zachary Baker

                               CPL James Summers
                                    1LT Kile West




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Pages 2 through 3 redacted for the following reasons:
(b)(5)
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                                                   UNCLASSIFIED
                                    DEPARTMENT OF THE ARMY
                               6™ SQUADRON, 9™ UNITED STATES CAVALRY
                                        18T CAVALRY DIVISION
                                             APOAE09324
                    REPLY TO
                    ATTENTION OF1



     AFVA-6-9CAV-SXO                                                                   27 June2007


     MEMORANDUM FOR COMMANDER, 3d HBCT, 1st Cavalry Division, Multi-
     National Division North, Forward Operating Base Warhorse, Iraq, APO AE 09322

     SUBJECT: Findings and Recommendations for AR 15-6 investigation into hostile fire
     deaths of PFC Alexandre Alexeev, SPC James Summers, CPL Zachary Balcer, SGT
     Anthony Ewing, lLT Kile West, and CPL Johnathan Markham on 28 and 29 May
     2007.

     1. I conducted an infonnal AR 15-6 investigation, under the provisions of Chapter 4 of
     AR 15-6, to determine the pertinent facts surrounding the hostile fire deaths of PFC
     Alexandre Alexeev, SPC James Summers, CPL Zachary Balcer, SGT Anthony Ewing,
     lLT Kile West, and CPL Johnathan Markham on 28 and 29 May 2007 while
     participating in a Downed Aircraft Recovery Team (DART) mission in vicinity of Big
     and Little Abu Sayda (vie 38SMC7854). I determined the pertinent facts and the cause
     of this incident. I find no fault with the actions of the soldiers or any member of their
     vehicle, crew, platoon or chain of command. The deaths of PFC Alexandre Alexeev,
     SPC James Summers, CPL Zachary Balcer, SGT Anthony Ewing, and !LT Kile West,
     occurred as a result of a deep buried IED activated by al                (b}(1}1.4a       I
     in the village of Little Abu Sayda (vie 38SMC78265381).I                   b(6), b(3)     /
     death occurred as a result of a second IED that was buried near the first IED. The
     Second IBO detonated upon completion of recovery operations as the Bradley began to
     be towed from the site.

      2. Background:

                    a. Call for the DART and Initial Tactical Movements: At approximately
      28181 SMAY07 the 25th Combat Aviation Brigade Tactical Command Post (Diamond
      Head TAC) reported to the Saber Tactical Operations Center (TOC) that one OH58D
      was reported "down" near Little Abu Sayda vicinity grid 38SMC77355287. • The 6-9
      CAV                           b6 b3                    immediately told the Squadro        (b)(3), (b)(6)
                                              that there was a downed helico11ter vicini,!Y_g L1 e u ay a.
     ';;Tharce"S,-q~-:'-ai'---':-i-3-b.,,-,c:Je coordination with!    b(6l, b(35   I(thLJofthe 25th Combat
       Aviation Brigade) who was located in the Diamond Head TAC adjacent to the 6-9 CAV
       TOC to verify grids and assess the situation. The Squadr~lll)dered the Track and
       Wheeled Quick Reaction Force (QRF), consisting of2 M2A3 Bradley Fighting
       Vehicles and 4 Ml 114 Up-Annored HMMWVs, to begin movement to Big Abu Sayda
       and prepare for support ofa Downed Aircraft Recovery Team mission. The QRF
       began movement from FOB Nonnandy at approximately 281833MAY2007 with an
       initial Task and Purpose to conduct a tactical road march to the IP station in Big Abu
       Sayda in order to build combat power as a follow-on DART security force. At 1820
       hours Bandit Troop was ordered to "re-seed" (backfill) the committed QRF and remain
       on FOB Nonnandy to await orders.


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       Ale><andre Alexeev, SPC James Summers, CPL Zachary Baker, SGT Anthony Ewing, !LT Kile West,
       and CPL Johnathan Markham on 28 and 29 May 2007.


                       b. Meeting of Co~ders at TOC and Initial Planning for Recovery Site:

                            1) The Squadro~                   b(B), b(3)        Iarrived at the TOC
       aro~d 281845MAY07 and was briefed on the downed OH 58-D.                    I            b(B). b(3)
       venfied the location of the downed aircraft with! b(B), b(3) j Track and Wheel QRF
       continued movement west on Vanessa enroute to the IP station in Big Abu Sayda.
       Orders were again issued to the Track and Wheeled QRFs via the Battle NCO verifying
       that they were not to travel south of Big Abu Sayda. The intent for the QRF was to link
       up with the Abu Sayda IP chief and to begin assessing the situation and to ensure
       conditions and task organization were set prior sending forces south. The S ua
              b(B). b(3)       assembled the core Squadron plans team                    (b)(3), (b)(B)
         (b)(3), (b)(S) and the A and B Troop Commanders,                    b(G), b(3)       b(G), b(J)   and
                         B,b 3               b 6 ,b 3    to issue a FRAGO and have tlie roop
       Commanders start preparing to execute the DART Mission.! b(6), b(3) j informed~
      I b(6), b(3) lthat the 25th CAB could provide two UH-60s to Normandy to assist with the
       DART, but that his dismounted infantry was located at Contingency Operating Base
       (COB) Speicher/            b(B), b(3) i was then iven a Warning Order (WARNO) to prepare
       for air assault to secure crash site           b(G), b(3)        roo was task organized with 6
       Bradley Fighting Vehicles and the EOD JERRV. b(G), b(3) assembled his forces and
       began movement to the FOB Normandy South Entry Control l>oint (ECP) to link up
       with the Squadron Tactical Command Post (TAC) for movement to Abu Sayda.

                               2) Prior to the TAC's departure, the Squadro         b(B), b(3)       asked
          b(6), b(3)      for an estimate of time that the Squadron could be expecte to secure the
       crash site.           b 6 ,b 3 estimated that pilot recovery would be within hours if the site
       was secured and that aircraft recovery, if the aircraft didn't need to be destroyed, could
       take anywhere between 3-5 days depending on route security and trafficability into and
       out of the crash site. The Sq~fi)]\IB;n called the BDEi                            b(6), b(3)
       to get a planning estimate since the Bngade had supported a DART mission earlier in
       the year, and he, too, verified that we should plan to secure the site for 3 to 5 days for
       recovery. This information was then relayed from the SquadrQIS!~)the Squadron
    ( b ) ~ ) ~ t prior to the Squadron TAC movement to Abu Sayda, the 3d Brigade TOC
       relayed to the Squadron TOC to have the Track and Wheeled QRF change radio
                     • t monitor the Brigade Command Net and coordinate with the 25 th ID
                     (b)(3), (b)(6)          order to walk them on to the crash site. The Squadron
           orm           nga e a e RF was too small of a force for this mission and was not
       task organized correctly to conduct a deliberate clearance of routes through Little Abu
       Sayda to the crash site. The Squadr~o called the Brigall~ctly to ensure
       he understood that the Track and Wheeled QRF could not execute the DART mission
       ind endent from other forces. Brigade relieved the Squadron of the task of QRF and
         (b)(3), (b)(G)     ·rect coordination.

                           3) At 1900 the Brigade TOC and Diamond Head TAC reported that
         (b)(3), (b)(G)   Personal Security Detachment had landed at the crash site and recovered


                                                        2
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     the bodies of the two pilots of the OH58-D and were tal<lng the bodies to FOB
     Warhorse.

                c. Initial Movements and Consolidation of Forces in Big Abu Sayda:

                       1) Blacksheep I (l't Pit, 293'd MP Company) had monitored all traffic
      of the downed aircraft and the DART mission on the Squadron command radio net
      while they were returning from a mission in Baqubah and re-missioned their patrol to
      meet Apache Troop and the TAC at the Big Abu Sayda IP station and await further
      orders.. This platoon arrived at the IP station at 1910. The Squadron TAC and Apache
      Troop departed FOB Normandy at 1919 hours to link up with the Tracked and Wheeled
      QRF at the Big Abu Sayda IP station. The wheeled and tracked QRF arrived at the Big
      Abu Sayda IP station at 1920.

                       2) Just after the TAC began their movement to Abu Sayda, at
        approximately 1920, the Brigade Headquarters issued a verbal FRAGO to C Troop, 5-
        73 CAV to perform the DART mission. Under the order the troop from 5- 3 would be
        under Operational Control (OPCON) of the Squadron TAC. The Squadr (3), (b iE!itial
        plan was to keep Apache Troop at the Abu Sayda IP Station as a Heavy O or C
     ,..J:m_Qn.j.;73 CAV. The Squadr~ormed the Bandit Troop                       i
                                                                                b(6l, b(3)
     ~ that he no longer had the air assault mission to secure the site, but that he
        should remain prepared to execute as a contingency and should keep his force at
        REDCONl.5.

                          3) The Brig~led the Squadr~~pproximately 1930 and
      informed him that the 25 th Infantry Division CAB's Teaiiifc'.tl Inspector (Tl), the man
      responsible for making the assessment of final disposition of the downed aircraft, was
      located at FOB Normandy and the lift aircraft that would be conducting the air assault
      of the DART team would have to stop at FOB Normandy in any case to pick him up
      and take him to the site. The Brigade 83, under recommendation from the Diamond
      Head!        b(6l. b(3l   hlscinded the previous FRAGO that gave the DART mission ti
      C Troop, 5-73 CAV and re-assigned the mission to B Troop, 6-9 Cav               lb(6). b(3l
      immediately began to execute the mission based on the hasty mission analysis the plans
      team had completed earlier. The Squadron plan called for a 21 Soldiers detachment
                                                      th
      consisting of 2 EOD personnel, I TI from 25 CAB, and 18 Cav!!lrY yo:;rs from B
      Troop, 6-9 CAV. The assault force was led by!           b(6), b(3l   !thit) 3), ( !Ill Bandit
      Troop. The task and pmpose for the detachment was to conduct air assa t operations
      in order to secure the site of a downed aircraft and to make an assessment for
      salvageability, recovery, or destruction of the aircraft. The de~ent was staged at
       the airfield ready for movement by 2007 hours. The Squadr(!ll\~!!«~ered that the




       1
       REDCON 1.5: A Readiness Condition (REDCON) indicating that a force or unit is prepared to execute
      a mission within 15 minutes. If on vehicles, engines are not running, but the crews are on hand to move
      immediately.
                                                        3

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     Recovery QRF go to REDCON t2 but to stay in their Troop area and prepare for
     contingency recovery operations.

                      4) The Squadron TAC arrived at the Abu Sayda IP station at
     appro,dmately 1957 hours, set up communications and assumed control of the :fight
     from the Squadron TOC as per Standard Operating Procedure (SOP). The Squadr<»J~)(6)
     again verified that the planning factor for duration of the recovery was 3 to 5 days at
     most and determined that 2 I Soldiers could not protect and sustain themselves without
     immediate support as dictated by the intelligence assessment of known Al Qaeda
     activity vicinity of Little Abu Sayda and surrounding palm groves.I         (b)(6), (b)(3)
     then re-task organized! b(6), b(3) JA Troop forces adding the MP patrol (Blacksheep
     I). By 2012 hours, A Troop, 6-9 CAY was given orders to conduct a deliberate
     clearance through Little Abu Sayda, keep the route open with MPs and assist Bandit
     Troop with security and life support until recovery operations were complete. The
     Recovery QRF on FOB Nonnandy was ordered to move to the South ECP and prepare
     for contingencies at 2025 hours. The Squadron was set to begin movement to the crash
     site by 2030 hours.

                d. Movement of Ground Forces to Kiowa Crash Site:

                     1) As Bandit Troop prepared to execute the air assault mission, the
     Squadron synchronized battlefield combat multipliers such as 3 Air Weapons Teams
     (Awn consisting of2 AH64's (Apache Attack Helicopters) each, Division-level
     Hunter Unmanned Aerial Vehicle (UAV) and Corps-level Predator UAV assets, and 2
     Air Force Fl6s, to support the Bandit Troop detachment. Additionally, the Squadron
     TOC created a target package for an artillery Suppression of Enemy Air Defense
     (SEAD) mission into the area of Little Abu Sayda vicinity where the OH58 D was shot
     down. The SEAD mission was not fired due to the amount of Air Force and Army
     Aviation assets over the target area and the amount of time it would take to clear.

                      2) The B Troop Air Assault element began their air assault at 2032
     hours and Apache Troop began their movement out of Big Abu Sayda enroute to the
     crash site. Simultaneous! at 2042 hours the Bandit Air Assault element landed at the
     LZ by the crash site and        (b)(3), (b)(6)   r           his forward line of troops just
     entering Little Abu Say v1c                       . (b)(3), (b)(6 as very deliberate in the
     route clearance by leading with Heavy Tracked Vehicles for protection and
     dismounting Troopers to look for IED pressure switches or command detonating wire.
     The Squadron TOC tasked the Predator UAV assets to clear the route as well, looking
     for triggermen or hot-spots on the road. Given the amount of AWTs in support, Apache
     Troop had control of one AWT to clear ahead of them on the route·as well. The order of
     march for Apache was two Bradleys (Bumper numbers A13, A25), one EOD JERRY,
     followed by three Bradleys (Bumper numbers A12, A28, and A56 withJ b(B), b( 3) J
     The MP HMMWVs would follow behind and secure the route.

      2
       RBDCON I: A Readiness Condition indicating that all personnel are prepared for missions with
      vehicle engines started and prepared to move immediately,
                                                       4

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                        3) Tue patrol mov¢ forward slowly along the paved route and the lead
      vehicle (Al3) under command of[ b(6), b(3)             ~ntered the outskirts of Little Abu
      Sayda where he noted it looked like "a ghost town."! b(6), b(3l !noted that the road
      was all,"hardball" (paved) except for one area that dirt totally covered the road. lrb-16-),-b-(3~)1
    b(6), b(3) _gave the order to his dismounted Troopers to recon this section of road to check
      for lEDs, command wires or pressure switches. Tue dismounted Troopers conducted a
      reconnaissance of the road and reported it clear. Tue Troopers then returned to the
      Bradley and the patrol continued movement at 2047 hours (according to the Predator
      UAV recording). A~ b(6), b(3l Iapproached the dirt on the road he noticed a small
      !ED blast crater on the left (east) side of the road and that tire tracks from automobile
      tires appeared to indicate that vehicles drove over the area to the right (west). "all the
      time." I b(6l, b(3l IBradley followed the tire tracks to the right of the IED crater and
        assed through the area with no problem. Tue next vehicle in the order of march was
            b(6), b(3)     5 Bradley. The Predator Video clearly indicated that! b(6), b(3) I
      care y maneuvered his Bradley to follow in the same tracks as the Bradley in front of
      him did. At 2048 hours, according to the Predator UAV video, A25 struck a pressure
      switch detonating a large buried IED directly under the crew compartment of the
      Bradley. Predator UAV verifies the location of the IE[ strik:tf 33° 55' 22" and E
      44° 45' 54" (Latitude and Longitude). At 2050 hours,                   eported contact with
      an IED vicinity the grid 38SMC78265381 and initially report a disabled Bradley with
      up to 5 KIA and 3 WIAs as a result of the blast.

                                 4) Based on the contact, )(3), (b)( ssessed that the route from the north
      to the crash site was impassable and reque                    e Squa )(3). (bl ntact Bri ade to
      request more dismounts to help secure the site. The Squadro                      b(6), b(3)
       contacted the Brig~d the adjacent unit 5-73 CAV r uestin assistance to
       secure the site from the South. 5-73 CA\(~rmed b(6), b(3) that they too
       could not make it north of Mukisa on that route and would be unable to reach the crash
       site by ground. By 2053 hours the Bandit Air Assault element secured the site and the
       TI and EOD began gathering sensitive items and asse.ssing whether the aircraft could be
       recovered or had to be destroyed. At 2109 EOD indicated that the could destroy the
     ,-,,,,=.,.....,·.....,1~.ace. At approximately 2111 hours                 b6 .b3             •nformed
     "iLes.tr~dd~~at his Brigade was going to recommend to (b)(3), (b)(6) at the aircraft be
     ~                        e to the security situation in and around the area o e crash site.
        (b)(3), (b)(6) authorized the destruction of the aircraft at approximately 2124 hours.


                        5) At 2109 hours, b)(3), (bl( elaye4 (b)(3), (b)(6) !request for MEDEVAC
      to the Squadron TOC and by 211 S the            EVAC helicopter was enroute to the site.
      Tue MEDEVAC arrived at grid 38SMC78305390 at 2131. Four Troopers were
      MEDEVACd from the site; L                             b(6), b(3l                     I and
             b(6), b(3)    (Crew members of A25), and SPC Zachary Baker. SPC Baker was
       1st as 1tter urgent and was beginning to lose consciousness as they conducted the
      MEDEVAC. Tue MEDEVAC helicopter lifted off from the site at 2136 and SPC
      Baker died of his wounds enroute to the Combat Support Hospital in Balad, Iraq.

                  e. Recovery at the JED Site and Return to Base:
                                                       5

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      and CPL Johnathan Markham on 28 and 29 May 2007.


                           I) At approximately 2115 the (bJ(3J, (b)(BJ ssued orders to the
       Recovery QRF to move to Little Abu Sayda to con uct recovery operations. of the
       destroyed Bradley. The Recovery QRF began movement from the South ECP at 2119.
     ! b(BJ, b(3J !then contacted the 215 th Base Support/                       b(BJ, b(3)          /
     I b(Bl, b(3l Ito inform him of the casualties and to make coordination for reception of the
       KIAs at FOB Warhorse in Baquba. The decision was made to send the KIAs there
       directly from the site instead of returning the bodies to FOB Normandy because FOB
       Normandy lacks the appropriate· mo               affairs facilities and trained personnel. Also,
       coordination was made with the            (b)(3), (b)(Bl      use the DART UH-60s for
       transportation of the remains to Warhorse upon completion of the DART mission.

                       2) Apache troop asked for additional recovery assets to backhaul debris
      from the IED strike and the Squadron deployed a second Recovery QRF consisting of
      PLS, IO-ton wrecker, and another M88. The second Recovery QRF was committed
      forward at 22 I 8 hours. The Bandit Air Assault element completed their mission with
      the downed OH58D at 2302 and the Pickup Zone was clean with the aircraft rigged to
      detonate. Explosive charges on the aircraft detonated at 2308 hours.

                     3) After the Diamond Head UH 60 helicopters returned all of B
      Troop's Air Assault element to FOB Normandy, the aircraft returned to Little Abu
      Sayda at 2332 to conduct Hero Flight for the !LT Kile West, SGT Anthony Ewing,
      SPC James Summers, and PFC Alexandre Alexeev.

                        4) During the recovery, EOD and Apache Troop Soldiers secured and
      cleared the site. I b(Bl, b(3l ~eported that EOD Soldiers were "on their hands and
      knees" ensuring the road was clear of any additional IEDs. Once all recovery assets
      arrived on site, the Recovery Team and Apache Troop Soldiers began to load all
      Ballistic Reactive Armor Tiles (BRAT), the back ramp of A25, both sides of track, and
      the troop hatch from A25 onto flat racks for transportation back to FOB Normandy.
      Additionally, the Bradley itself was prepared for towing by an M88. At
      290241May2007 a second JED detonated on several dismounted Soldiers conducting
                             I
      recovery operations. (b)(3), (b)(6Jfeported that there was only one KIA as a result of the
      second JED. CPL Johnathan Markham died instantly from blast and fragmentation
      effects from another large buried JED that was near where the first one detonated. EOD
      never found a trigger mechanism for this IED, however it was most likely buried near
      the first JED and when the Bradley was being prepared to tow, it possibly triggered
      another pressure switch that was not detected by EOD most likely because it was under
      the damaged Bradley. J         b(BJ, b(Jl  ~ody was prepared for transportation on board
      his Troop Commander s Bradley tor the movement back to I:OB Normandy.

                      5) All recovery was complete by 0352. At 0427 Apache Troop Began
      mov~ment back to FOB Normandy. Trailblazer (Engineer Route Clearing Unit) led the
      patrol back to FOB Normandy to clear the route. All QRF, Recovery, Apache Troop,
      and Squadron TAC vehicles and personnel arrived back at FOB Normandy at
      approximately 290705MAY2007.

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    and CPL Johnathan Markham on 28 and 29 May 2007.




     3. Factors Impacting on the Incident:

               a. There were no extenuating factors that impacted· on this incident. All
     communications were good in the Troop and the patrol took no unnecessary risks
     during the clearance of the route.

                b. MEDEVAC and recovery ofremains were performed quickly and
     efficiently with utmost respect for the remains of the KIA.

     4. Findings: Based on the evidence provided in ENCLOSURES II through X, to the
     DA1574, I find the following:                       •

               a. PFC Alexandre Alexeev, SPC James Summers, CPL Zachary Baker, SGT
     Anthony Ewing, and l LT Kile West, were traveling in the crew compartment of the
     second Bradley in a column of Bradley Fighting vehicles enroute to secure the recovery
     site and Air Assault elements of a Downed Aircraft Recovery mission.

                b. The five Cavalry Troopers died as a direct result from the blast and
     shrapnel effects of a large buried IED that detonated directly below the crew
     compartment of the M2A2 Bradley. The nature and extent of the injuries of PFC
     Alexandre Alexeev, SPC James Summers, SGT Anthony Ewing and !LT Kile West,
     indicates that their deaths were immediate with no prolonged suffering. CPL Zachary
     Bake~                                (b)(6)                           pnd died enroute to
     the Combat Support Hospital in Ba!ad, Iraq.

                d. CPL Johnathan Markham died as a direct result of blast and shrapnel
     effects from a second, large IED consisting of approximately 100 pounds of explosive.
     The nature of his injuries suggests his death was immediate with no prolonged
     suffering.

               c. The Troop Commander, Platoon and Section Sergeants had proper systems
     and controls in place to render immediate care and evacuation of the KIA.

                d. The A Troop Commander and patrol leaders were not negligent in their
      conduct of the mission. All leaders and soldiers identified risks and took the proper
     ·steps to mitigate the risks during the operation to include IED threats along the routes in
      and around Little Abu Sayda.

               e. There was no violation of ROE, regulation, law or policy in this incident
     and no indications of friendly fire or malfeasance as the cause of death for any of the
     Soldiers.




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      Alexandre Alexeev, SPC James Summers, CPL Zachary Baker, SGT Anthony Ewing, !LT Kile West,
      and CPL Johnathan Markham on 28 and 29 May 2007.

      5. Recommendations; Based on the findings and when considering training level and
      preparations of all Troopers in A Troop, 6-9 CAV, I make the following
      recommendations:

         a. Continue to emphasize and train DART missions in accordance with the
      established Squadron SOPs.

         b. When practicable, dismounted Soldiers should be used to search routes for
      command wires and visible pressure switch IEDs ahead of vehicles, especially along
      previously untraveled or lightly traveled routes.

         c. Incorporate the threat of buried pressure switch IEDs into all mission planning.

         d. During recovery operations, all dismounted personnel should take cover or
      reoccupy their vehicles prior to moving the damaged vehicle from the blast seat to
      mitigate risk of further casualties from unseen secondary IEDs.

         e. Expedite the process for installing the underbelly annor on the M2 Family of
      Vehicles. Deep Buried IEDs directly targeting the underside of heavy tracked tactical
      vehicles is a tactic that AQIZ will continue to use. Along with other mitigating
      measures such as dismounted searches, added annor could help redirect or mitigate the
      blast effects under the crew compartments.

       6. POC for this memorandum is the undersigned at VOIP)               b(6)     jor SIPR email at




                                                                            b(6), b(3)
       Encls
       I. DA Form 1574
       2. Index of Enclosures
       3. Enclosures 1-X to DA 1574




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                              REPORT OF PROCEEDINGS BY INVESTIGATING OFFICER/BOARD OF OFFICERS
                                                   For use of this form, see AR ts.a; the proponent agency is OTJAG.
                              IF MORE SPACE IS REQWRED IN FIUING our ANY PORTION OFTHIS FORM, ATTACH ADDITIONAL SHEETS
                                                                     SECTION I • APPOINTMENT

                                                         b(6), b(3)                                         pDR, 3HBCT, I st CAV DIV
    Appointed bJ
                                                                                                    (Appointing authority)
                                                                                                                                                                                                       --

on             29 Mar2007                     (Atlach inclwwe 1: Letter ofappointment or summary oforal appointmenl data.) (See para 3·15, AR 15--6.)
                     (Date)

                                                                                      SECTION 11 • SESSIONS

                                                         FOB Nonnandi, lrag                                                                                                         1445
The (inw,llgation) (board) commenced at
                                                                                                     (Place)                                                "                      (Tl.,.)

 on          30Mai2007                (If a formal board metfor more than one seulon, check here 0. Jndlcate In an tnclosure the tfme each.seufon began and
                   (fkslt}                                                    .                 .
 ended, the place, persons present and absenl. and explanation ofabsences, ifany.) The following persons (members, respondents, coun.Jel) were
 present: (After each namt, indicate capacity, e.g., PresidenJ, ReC<Jrder, Member. I.ego/ Advisor.)




 The following pccsons (members, respondentJ, counsel) were absent (Include briefexplanation ofeach ab.sena.) (See pataJ 5~2 and $--Ba, AR 15-6.)




    The {investfgaling ofliar) (boqrd) finished gathering/heating evidence at                                           1200                              on                    16 June 2007
                                                                                                                        (Time)                                                     (Date)
    and c.ompleted findings and recommendations at                                               2200                                        on                   .27Ma.)'2007
                                                                                        (lim,J                                                                            (Dale)
                                                                                                                                                                                                  -·
                                                                       SECTION Ill • CHECKLIST FOR PROCEEDINGS




                                                                                                                                                                                      II
    A. COMPLETE IN ALL CASES
I  lnclosures (para 3-1 S, AR IUJ
  Arc the following in closed and numbered consctutivety with Roman numerals: (Attached In order list.ed)
  a. The letter of appointment or a SUmtnl!Y ofoml appointment data?
   b. eopy of notice to respondent. If any? {Ste I/em 9, below)                                                                                                                                        X
   c. Other correspondence with respondent or counsel, if any?                                                                                                                                         X
  d AH other written communications to or from the appointing authority?                                                                                                                               X
   e. Privacy Act Statcmenl!i (Certificate, l{srarement pr<Wtded orally)?                                                                                             --·
                                                                                                                                                                                                       X
  f. Explanation by the investigating officer or board of any unusual delays, difficulties, irregularities, or other problems
       encountered (e.g., absence ofmattrtal wllneue.J)?                                                                                                                                               X
   g. Infonnation a., to sessions of afonnal board not included on page 1 of this rcpon?                                                                                                               X
   h. Any other significant pape,s (other than evidence) relating to administrative aspects of the investigation or boiv-d?                                                                            X
FOO17/OTES: Y lixplain all negative w,:iwtn on on ottad1td lhtet.
                ?J U1e ofthe N·A column corutltutes a po.tltfve representation 1ho1 thl! t'lf'Cllm.~fanntr Jr..q:r/hW In the q11e.11fon did not occur In lh/.f lnve.1tlgt1fiM
                   arboord
DA FORM 1574, MAR 83                                                    EDITION OF NOV 77 IS OBSOLETE.                                                                                         USAPAV1.20
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                                                                                            UNCLASSIFIED
2     Exhibits (para 3-16, AR lS-6)                                                                                                                                                 YES NO!l NAli
     a. Arc all items offetcd (whether or nol re<Yived) or considered m evidence ffldividuaJly numbered or lettcted es
        cxhlbils and attached to this report?                                                                                                                                       X
     b. h an index of all exhibits Offcrt-d to or coruidcred by investigating offictror board IUtachcd before the first exhibit?
     c. Has the testimony/statement of each witness been rec-0rded verbatim or Ll'l,l;II reduced to written tOrm and attached BJ
                                                                                                                                                                                    X
         ail exhibit?
                                                                                                                                                         ..
                                                                                                                                                                                    X
     d. Are <;opics. de:sCllptions, or depictions (If su./Jstitu1edfor ~al or documentary evidence) properly auihcnticatcd and is
       the. location of the original evidence indicated?                                                                                                                            X
    e. Arc descriptions or diagtams indudcd oflocations visited bythc.invcstigatingofficeror board (po,a J-6b. AR /S-6)?
                                                                                                                                                                                              X
    I Is each written stipulation attached as an exhibit and is each oral stipulation either reduced to writing and made an
       exhibit or reoorded in a vecbatim record?                                                                                                                                              X
    g. If official notice of ~Y matter was taken over the objection of a rcsp0ndent pr counsel, is a statement of the matter                                                  ··-
        of which official notice was taken attached as an exhibit (para 3-l6d, AR /5--6)?                                                                                                     X
3   Was a quorum present when the board voted on findings and recommendations (para, ,t.1 and 5-26. AR 15-6)?                                                           ---

                                                                                                                                                                                    tri
                                                                                                                                             .
B. COMPLET8 ONLY FOR FORMAL BOARD PROCEEDINGS (Chanter5, AR IS-6)
4 At the initial session, did the recorder read, or detennine that all participants had read, the letter of appPintment (para 5-36, AR l 5-6)?
                                                                                                                                               -
s WM a quorum pft$nt at every session of the board (para 5-2b, AR 15-6)?
6 Was each absence of any member properly excused (para 5-2a, AR 15-6)?
7 Wr:rc members, witnesses, reporter, and interpreter _sworn, if required (para3-/, AR /5-6)?
8 If any membcrawho voted on findings or recommendations were not present when the board ~ived some evidence,
    dOOJ the inclosure describe how they familiarized themselves with that evidence (para 5-Zd. AR 15-6)?
C. COMPLETE ONLY IF RESPONDENT WAS DESIGNATED (Section JI, Chapter 5, AR 15-6)
                                                                                                                                       -----
9  Notice to respondents (para 5-5, AR 15-6}:
   a. rs the method and date of delivery to the respondent indicatedOn cich letter of notification?
   b. Wu the date of delivery at least five working days prior to the first ussion of the board?
   c. Does each letter of notification indicate -
       (I) the date, hour, !l[ld plact of the first session of the board concerning that respondent?
       (2) the matter to be investigated, including specific allegations against th~ respondent, if any?
       (3) the respondent's rights with regard to counsel?
                                                                                               ·-··----- ·-----·-·--- ···-··-·-·-
       (4)    the name and adcltm of each wibless expected to be called by the recorder?
       (S)    the respondent's rights to be present, present evidence, and CJ]l wilnC!ses?
   d. Was the respondent provided a copy of a11 unclassified documents in the case file?
   e. If there were relevant classified malerials, were the respondent and his counsel given access and an opportunity to examine them?
JO If any respondent was designated after the proceedings began (or otherwise wa.t absent during par/ ofthe proceeding.r):
   a. Was he properly notified (para M, AR 15-6)?
   h. Was record of proceedings and evldcn~ received in his abscnee-made available for examinatiOflbyhim and his counsel (parrd-11..•. All /J-6)?
II Counsel (para 5-6, AR JS-6):
   a. Was each respondent represented by counsel?                                                                                         ...
        Name and business address of counsel:
                                                                                                                                                     -·.
        (If counsel is a lawyer, check here l I)
     b. Was respondent's counsel present at all open sessions of the board relating to that rtSpondent?
                                                                                                                                                                          ----
     c. lfmilit.a:ry coumel was requested but not made available. is a copy (or, ifOral, a mmmory) of the request and the
        action taken on it included In the repon {para J-6b, AR 15-6)?


                                                                                                                                                                                    ~
 12 If the respondent cliallenged the legal advisor or any voling member for lack of lmpartla1ity (para 5~7, AR l J--6):
                                                                                                                                                              -.
     a. Was the challenge properly denied and by the appropriate officer?
     b. Did each member successfully challenged cease to participate In the proceedings'?
                                                                                                                                                               -- ·-·
 13 Was the respondent given an opportunity 10 (para S-8a, AR /5-6):
     a. Be present with his counsel at all open sessions of the board which deal with any matter which co11ccms that rc!pondent?                                               - ~
     b. E:wnine and objwt to the introduction ofreal and do<iumentwy evidence, including written statements?
     c. Object to the testimony of witnt$Se9 and cross-examine witnesses other than his own?




                                                                                                                                                                                            -
     d. Call witnesses and otherwise introduce evidence?                                                                                                            .
     e. Testify as a wibless?
     J Make or have his counsel make a final statement or argument (para 5-9, AR 15-6)?                                                                        ..
 14 If requested, did the recorder assist the respondent in obWr\ing evidence in po55cssion of the Government and in
     arranging for the presence of witnesses (para 5../Jb, AR 15-6)?
··-- ·-----·
 15 Are all of the respondent's rc<1uests and objections which were denied indicated in the report of proceedings or in an
     inclosure or exhibit lo it (para 5-11, AR 15-d)?
 FOOTNOTES: Y l\tplaflt all 111gatll'fl an.twm on on ottochu/ ."1t'1.
            ?/ rJ.rj,%iflltt NA co/uwt co,ulllllle.r a po.ritNt rtp~allon that lhe ,·ln:wn.ttantu dt.1t"rlbl!dln IJit quett/011 did n.OI ot"(.'IJf In tliU ln~ftl/{1111/JI/
                        "     hi
Page 2 of ,f pagu. DA Form l 57,f, Mar BJ                                                                                                                                                USAPAVl.20


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                                                        SECTION IV· FINDINGS {j!a,aJ-10, AR 15-<i)                                ..
                      ------
'Ibc (investigating officer) (board), having carefully considered the evidence. finds:


See Attached Memorandum




                                                   SECTION V. RECOMMENDATIONS /para J-11, AR 15-6)                                     .
In view of the above findings, the (invesligaling officer) (board) recommends:
See Attached Memorandum




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                                                   SECTION VI-AUTHENTICATION (pmaJ-17, AR 15-6)
                                                                                                                                          ·-----
lllIS REPORT OF PROCEEDINGS IS COMPLETE AND ACCURATE. (Ifany voting member or the recorder fails to sign here or in Section Vil below,
indicate the reason In the space where his signature should appear.)




                                                                                                                         b(6), b(3)


                                 (Ruorder)
                                                                                                                                                     --.


                                  (Member)                                                                         (Member)
                                                                                                                                            ----··


                                  (Member)
                                                                         -                                         (Member)
                                                                                                                                       ------


                                                  SECTION VII• MINORITY REPORT (para 3-13, AR 15-6)                                                  .


To the extent indicated in Inclosure                . the undersigned do(es) not concur in the findings and recommendations of the board.
(In the inc/osure, identify by number each finding and/or recommendation In which the dissenting member(s) do(es) not concur. State the
reasons/or disagreement. AddirionaVsubstitutefindings and/or recommendations may be included in the inc/osure.)




                                  (Member)
                                                                                  -                                (Member)

                                          SECTION VIII • ACTION BY APPOINTING AUTHORITY (pma 2-3, AR 15-6)
The findings and recommendations of the (inve.rtigatlng officer) (IH,t:,,-J}- are (approved) fdiFaJJPJ dWtd) {app,a .ed wUhfi;Howli1g e.ttepllohsi
                                                                                                                                                            -
sttbsttmtions). (I/the appointing authority returns the proceedings to the investigating officer or board for further proceedings or
corrective action, attach that correspondence (or a .summary, if oral) as a numbered Jnclosure.)




                                                                                                                   b(6), b(3)




                                                                                                                 JUN 3 0 2007

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                                 INDEX OF ENCLOSURES

   ENCLOSURE I (APPOINTMENT DATA)

   ENCLOSURE II (TIMELINE)

   ENCLOSURE III (SWORN STATEMENTS)

      APPENDIX 1 to ENCLOSURE Ill (Statement ofj                     b(6l, b(3)            p
                                                          ~=======-~
                                                                  3l_ _ _~
      APPENDIX 2 to ENCLOSURE III (Statement oflk _ _ _ _b_(6_l,_b(_

      APPENDIX 3 to ENCLOSURE III (Statement of~I--~b""l6~J,=bl3~l--~D.

      APPENDIX 4 to ENCLOSURE III (Statement otik_ _ _b('--'6)'-b-'. --(3)'----_   __,,h
      APPENDIX 5 to ENCLOSURE III (Statement o~~--b-(6_),b_(3_)            -~b
      APPENDIX 6 to ENCLOSURE III (Statement ofl~_ _ _b(~Bl_,b~(3_l               --~b
   ENCLOSURE IV (DA 1594 FROM THE 6-9 CAV TOC ON 28-29 MAY)

   ENCLOSURE V (DART AAR TO 25 th INFANTRY DIVISION COMMANDER)

   ENCLOSURE VI (DART CPOF EFFORTS AND TIMELINE OF CRITICAL EVENTS)

   ENCLOSURE VII (PREDATOR UAV VIDEO FOOTAGE OF IED STRIKE)

   ENCLOSURE VIII (PHOTOS OF DAMAGE)

   ENCLOSURE IX (EOD POST BLAST ANALYSIS)

   ENCLOSURE X (POST OP STORY BOARD REPORT SENT FROM SABER TOC)




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                                  DEPARTM€ld'f8/51§°rHE ARMY
                       HEADQUARTERS, 3d HEAVY BRIGADE COMBAT TEAM
                                  1st CAVALRY DIVISION
                                  FOB WARHORSE, IRAQ
                                      APOAE 09336

REPLY TO
ATTENTION OF
                                                                                         S: 7 June 2007
AFVA-3B-CDR                                                                                29May2007


MEMORANDUM FO~               b(6 ), b(3)  )Headquarters and Headquarters Company, 6th
Squadron, 9th Cavalry Regiment, 3d Heavy Brigade Combat Team, 1st Cavalry Division, Forward
Operating Base Normandy, Iraq, APO AE 09336

SUBJECT: Appointment as Investigating Officer-Army Regulation 15-6 Informal Investigation


I. I hereby appoint you as an investigating officer pursuant to Army Regulation (AR) 15-6,
Procedures for Investigating Officers and Boards of Officers, dated 30 September 1996. You are to
conduct an informal investigation under the provisions of Chapter 4 of AR 15-6 into the deaths of
Second Lieutenant Kyle West, Sergeant Anthony Ewing, Corporal Jonathan Markham, Specialist
Zachary Baker, Specialist James Summers, and Private Alex Alexeev on 28 and 29 May 2007, The
deaths reportedly occurred as a result of two !ED detonations IVO 38SMC 7700 5357, south of the
city of Abu Sayda. 3d Heavy Brigade Combat Team (3 HBCT) Significant Act (SIGACT) #3-1
05:947 is enclosed for your reference,

2. You are to determine the pertinent facts surrounding this incident, In particular, your findings
should address the following issues:

    a, What caused the Soldiers' death- hostile fire, friendly fire, or an accident;

    b. A detailed description of the circumstances surrounding the incident;

    c, What factor or series of factors contributed to the incident;

   d, What acts or events, if any, constituted violations of law, regulation, or policy (including the
rules of engagement);

   e. What, if any, corrective action is warranted and what actions might prevent similar futnre
occurrences; and

    f All other matters you deem relevant.

3. You will draft a memorandum for record containing your findings and recommendations and
attach it as an enclosure to Department of the Army (DA) Form 1574, Report of Proceedings by
Investigating Officer/Board of Officers. You will also attach this appointment memorandum, a
copy of the SIGACT, any written requests for extensions, any written authorizations for extensions,
and an index of exhibits to the DA Form 1574,



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 SUBJECT: Appointment as Investigating Officer-Army Regulation 15-6 Informal Investigation


 4. Exhibits will be attached to the DA Form 1574 and must be properly labeled and index d.
 Exhibits should include the following evidence: a complete personnel roster including full names,
 ranks, and duty positions of those involved; a diagram or story board depicting the inciden ; unit
 standard operating procedures; photos of the scene (e.g. UAV photos) and key evidence (e.g.
 vehicle); and sworn statements explaining the unit's mission at the time of the incident an
 addressing all issues outlined in paragraph 2 of this memorandum.

 5. Based on your findings, you will not make recommendations concerning any actions th
 command should take with respect to culpably responsible individuals, if any. You may ake
 recommendations on any other matter under the control of this command that you deem ap ropriate.

 6. All witness statements in your investigation will be sworn, if practic;able, using Depart ent of
 the Army (DA) Form 2823, Sworn Statement. If this is not practicable, use any reliable fo of
 recording the evidence appropriate to the circumstances.

 7. Your legal advisor isl       (b)(3), (b)(6)    I
                                                   He is located at the 3 HBCT, !st Cava! y
 Division (1 CD) Headquarters. You may reach him via VOIP ~l         b(6)   IConsult with im
 before beginning your investigation and concerning any questions that arise.

 8. You must support your findings with substantial evidence and by a greater weight of e •dence
 than supports a different conclusion. Your findings must support your recommendations. Submit
 your completed report to the 3 HBCT, 1 CD Brigade Judge Advocate Section for legal be re
 submitting it to me.

~ p o i n t of contact for this appointment is th        b(6), b(3)
~atVOIPI            b(6)    I                     ~-----~~-----,--~




                                                                b(6), b(3)
 Encl
 as
                                                       omman mg




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AFVA-3B-CDR
SUBJECT: Appointment as Investigating Officer -Army Regulation 15-6 Informal Invest gation


3-1 05:947; 281820MAY06; !ED Detonated

INITIAL REPORT:

At 28 l 820MAY07 3-1 CAV receives a mayday message from a downed aircraft in the Di ala
Province South of the city of Abu Sayda vie 38SMC 7700 5357. 3-1 TOC reports that ther are 2x
KIA US Pilots as a result of the crash. TF 6-9 is cunently sending QRF assets to aid in the recovery
of the Aircraft.

UPDATE!: Grid to aircraft is 38SMC 7696 5353.

UPDATE2: At 1953 A WT Red wolf 06 reports engaging 3x AIF maneuvering toward the rashsite,
300 meters from site. At 2035 QRF in response to the aircraft hit an ied at 38SMC 7898 5 41. Ix
BFV hit an ied throwing track. At2050 dismounts move to secme the BFV. TF 6-9 report 5x US
KIA and 2x US WIA. Medevac is enroute from FOB Nonnandy. At 2051 aerial QRF land and
secures the crash site.

UPDATE 3: 3X US WIA have been medevaced to FOB Nonnandy. The 3x WIA have be n Air
Evaced to LSAA to be treated for their wounds.

UPDATE4: While conducting recovery ops the patrol was struck by another !ED. Damag 1s
unknown at this time, Ix US is reported KIA. MTF

UPDATE 5: AT 290800MAY07, the remains of the US KIA will arrive at Fob Warhorse t be
processed for a HERO flight.

KIA:2X KIA US Pilots 6x US(QRF) TOTAL KIA: 8X US
WIA: 3X US (QRF)
EQUIPMENT BDA:
CREW SYSTEM:

SIGACT MEETS MNC-I CCIR #6 AND MND-N 1E, AND MNCI CCIR #13




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                              DBl'AllTMENT OF THE ARMY
                         Headquarten, 3D Heavy Brigade Combat Tllllll
                                     111 Cavalry Division
                              Forward Opcratlog Bue WBrllorse
                                        APOAE09336




       AFVA-3BDB-CDR                                                       20May2007


       MBMORANJ>UMFORRECORD
       SUBJBCT: Asaumption ot'Commaod

       By lllltbority ofpemgraph 2-Sa, AR 600-20, tbamxlmi&Dtd - - - ro11M11100 nfthe
       3D BDB, 1CO (WAOHM). 111 CavuyDiv!n:>n, FOB Warimae,Al'O AR09336,
       efl'ective24 May2007 lllltil 18 Juilc 'JJXTT.



                                                             b(6), b(3)




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   ENCLOSURE II (TIMELINE OF CRITICAL EVENTS)



  281815May 2007      6th Squadron, 9th U.S. Cavalry notified of downed aircraft vicinity
                      of Little Abu Sayda. Begins preparation to conduct a Downed
                      Aircraft Recovery Team (DART) mission

  282048May 2007      A Large Buried IED detonates on Apache Troop Bradley, A25, in
                      Little Abu Sayda, killing PFC Alexandre Alexeev, SPC James
                      Summers, CPL Zachary Baker, SGT Anthony Ewin !LT Kile
                      West and CPL Johnathan Markham and woundin          b(B), b(3)

                                                      b(6), b(3)


  282136May 2007      Air MEDEVAC of 3 WIA from point of injury complete

  290241 May 2007     CPL Johnathan Markham killed by second IED blast at Bradley
                      recovery site

  29~ I 600May 2007   Telephonically informed the BDEj         (b)(3l, (b)(B)       ~hat I would
                      take responsibility for the 15-6 Investigation

  29 May2007-         Evidence compiled for AR 15-6 Investigation
  16 Jun 2007

   18 June 2007       Received Appointment Orders to begin 15-6 investigation via 3
                      HBCT SJA,/       b(Bl, bl3l   f S: 07 June 2007
   27 June2007        AR 15-6 Investigation completed.

   28 June 2007       AR-15-6 Investigation submitted to BOE SJA.




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                                                                         SWORN STA'IEMBIT
                                                         For use ol Ills loon."' All lllO<IS; tla p,opcno1 ¥"Yb PMG.

                                                                         PRIVACY ACT STAlDIIIIT
AUTHO!ll1Y:                     Tllle muse Slcti<n:J.ll;litll5USC Sl<t!oo 21l51;E.0.93117dattdNomi>or22. 1943 /SSN/.
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DISCUlSllll(:                   lliscloul ol     IOCili       ru,i,er b
1. LOCATION                                                              Z. DATE //'l'l'YMM/JIJI              3. TIME             4. Alf NIJMB61
FOB Nonnandy, Iraq, APO AE09324                                                   2007/06/16                            1200
5, LAST N/J,IE.flRST NArE MRmll
I                 b(6), b(3 _
                                   f_
                                        E                                          a SSN
                                                                                                              b(6)
                                                                                                                                  7. GRADE/STA
                                                                                                                                                   b(6)
8.0R6ANIZATIONORA01Jl!f.5S
HHT 6-9 CAV, 3d HBC'f !CD, FOB Nonnandy , Iraq, APB AB 09324
9.
                  b(6), b(3)
      • l,t__ _ _ _ _ _ _ _ _...J------~WIKfT0MAXETHEF0110W1NGSTATEMENTUNDEJI0ATff:




    10. EXHIBIT
                                                                                                                                 PAGE 1Of        _3_ PAGES

    AOOmONAJ. PACES Ml/ST CD/ITAIN THE HWJ/1/G '$TATlMENT OF                         _ _ TAXENAT                _ _ DATlO

    THE BOTTOM OFEACHAOOfTIONA! PAGE MUSTBEAR THE /NIT/AlS OF THE PERSOIIMA/IJN6 THE STATEMENT, AND PAGE NIJl,/BElf Ml/ST BE BE /1/11/CATED.


DA FORM 2823. DEC 1898                                                    DA !ORM 2923, JUL 72. IS DBSOlill                                                UWAYl.01



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                                                              UNCLASSIFIED
                  USE THIS PAGE IF NEEDED, IF THIS PAGE IS NDT NEEDED, Pl.EASE PRDCEED TO FINAL PAGE OF THIS FORM,


STATEMENT Of
                                       3
                      '------b-(B_),_b(__)_ _ _ _       ,_L TAKEN AT     ~F~O""B~N~o~rman=~dy~·~- DATED     2007/06/16


9, STATEMENT /Cotll;,,,,t/
 Recovery assets arrived and as recovery was nearly complete a second !ED detonated on several dismowits soldiers
conducting recovery operations. Apache reported 1 x KIA as a result of the second lED. Apache completed mission and linked
up with Trail Blazer on RTE Vanessa for RTE clearance back to FOB Normandy, Apache recovered the destroyed Bradley and
1 x KIA back to Fpe..N=pandy. All QRF, Recovery, Apache, and the TAC arrived back at FOB Normandy at approximately
290700 MAY 07. ~
..------------Nothing Follows--------------------------




                                                                                    ,,.//
                                                           .----------{




                                                                       b(6)




INfTIAIS OF Pfl!SON MAKING STA'{EMENT
                                        b(6)                                                         PAGE      2   Of    3   PAGES
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                               5       3                                                 FOB Nonnandy Iraq DATED _,2,,,007=/0<,=/00
                                                                                                                                 16c.__ _ __
STATIMEITT Of       --'=====b("-=),=b(..)"-===-"'--- TAKEN AT

9. STATEMENT {ContiudJ




                                                                          b(6)




         .__ _ _ _ _b--'(6--')_,b-'(-'3)_ _ _ _ _l-~---~•HAV!RfADDRHAV!HADREADTOME1HISSTATEMENT
   WHICH BEGINS ON PAGE 1, AND ENDS DH PAGE                  __,L_. I fUllY UNDERSTAND THE CDNTEIIIS Of THE ENTIRE STATEMENT MMJ!
   BY ME. THE STATEMENT IS 111\J~ I HAY! INITIALED All CDRR£CTIONS AJID HAY! IHfTIAllD TIIE BOTTOM Of EACH PAGE COHTAlil!IG TIIE STATEMENT, I HAY! MAD! TIIIS


                                                                                                                                                              7
   STATEMENT fR£ElY WITHOUT HOPE Of BENE RT OIi REWARD, WITHOUT THR£AT Of PUNISHMENT, AND WITHOUT COERtlDN, UNLAWfUl INRUENCE, OR UNLAWfUl lNOUCEMENT.

                                                                                                                           b(6), b(3)               e,


                                                                                                (/            ..,,.,,.,,,..,_,,,l/ittgS/111(111(1//


   WITNESSES:                                                                          Sooscriled and IWlltl to before me, apersai 111thorized by lllw to
                                                                                  atrnmroa1hs,11is                __JL dayof                        June           . 2007
                                                                                  at    FOB Nonnand I
                                                                                                                         b(6), b(3)
    ORGANllATION DR ADDRISS                                                                                                                         Oil//
                                                                                                                                                            ----- -


    ORGANllATIDN DR ADDRESS


 INITIAlS Of PERSON MAICING STATEMENT
                                                                                                                                    PAGE        3        Of    3    PAGES .
 PASE 3, DA FOIIM 1623,0iC 11181                                                                                                                                       UWAVI.D1




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                                                                     UNCLASSIFIED
                                                                                                                                              -
                                                            SWORN STATEMENT
                                       For use of this form, see AR 190--45; the proponent agency Is PMG.

                                                      PRIVACY ACT STATEMENT
AUTHORITY:         Title 10 USC Section 301; TIiie 5 USC SecUon 2851; E.O, 8387 dated November 22, 1!143 (SSN}.
PRINCIPAL PURPOSE: To provide commanders and law enforcement officials wllh means by which lnfonnaUon may be aocuralely Identified,
ROUTINE USES:      Your social security number Is used as an addlllonaValtemate means of ldenlfficatlon lo facHltale flllng end retrieval.
DISCLOSURE:        Disclosure of your social security number Is voIunIary.
1, Lvvr,.11vn                                              2. DATE (YYYYMMDD)          !;,:,, IIMC                't, ru......


Apache Troop CP                                                  1        2007/05/30              I      1445
6. LAST NAME, FIRST NAME, MIDDLE NAME
                                                                         16' SSN                                          7. GRADE/STATUS
                                                                                                                            uiifilJ Regular Anny
          b(6), b(3)          I                                                       I           b/6)      I
8. ORGANIZATION OR ADDRESS
A TRP6-9CAV
9.
      1.I              b(6), b(3)              I                        ,
                                                                        WANT TO MAKE THE FOUOWING STATEMENT UNDER OATH:
On 28 MAY r7 I ~es l~~in, the OFAC when I got a call over the JCOM from Apache Mike saying th~lfi)cded to see me ASAP. l went lo
the TOC and      b}3), b]exp1aincd that we had s downed aircraft vicinity Little Abu Sayda. He instructed me to move as many Bradleys and
dbmounts as I could to the Big Abu Sayda IP station and wait for funher instructions. I told him that I could push four Bradleys, five if I could get my
FIST team off of OP Rcdteg. He told me to collapse the OP, I went back to the troop area and we loaded up and staged at the South Gate. Once the
TAC was ready, we SPd and moved to the Big Abu s- ·-'- IP c-•-1ion, slant S Brads/ I JERRV with 38 personnel and 2 terps. After the TAC
established com ms with I (b )(3), (b )(6) /attach~ )(3), (b )(8\ith four trucks to me and told me to conduct a deliberate clearance of the route
through Utile Abu Sayda in order to link up with Bandit, who was oonducting an air assault to secure the airomft.

I issued a FRAGO via FM to the troop and gave them our task and purpose. I instructt m~]~~ y~hicle to dismount'his troopers when we reached the
edge of town so they could clear the road and shoulders for command or pressure wire, (b 3= b )j) ~orted that tht hardball toad continued outside
of town and nx:ommended that the dismounts stay tnounted until we reached.a location where the road wa,s not pryOO r,e ~r~ approxhnately 300
meters down the road and reported that he was dismounting his troopers lo clear the road. The dismounts, under b(6 b        j        ismountcd and move.d
forward, clearing the road and shoulders as the Bradleys overwatch«I. The Bradlcyj continued m o v       as ~
                                                                                                            theidismounts
                                                                                                                  n          moved ahead of them. The
r:_. ,r.r.. -'Atonated on the second Bradley in the order of movement. I submitted a contact report      3 b           waited for BOA. I contacted
b)(3), (b)(flhr BOA and he said bis crew was OK, but he needed someone to check on his dismounts, I then received the initial report of BDA, It
was 5 KIA and 2 WIA. ' -· •t.• ·- rt higher and started working on a 9-Llne MEDEVAC request. I could not get rep---n "'~·- -·· •
                                                                                                                              1
troopers, so I ins1ructcd! (b)(3), (b)(6)lo maintain comms with squadron and I dismounted. I m1>ved up to,,............ '·              b/6). b/3)      l
1(6). bf.'.lJ,Yere working on I b'6' b(3)1 They had pulled him away from lbe vehicle to conduct medical care. I               (b)(3), (b)(6)            I
I b(6) b(3) /called up the MED EVAC request to squadron for! b(B) b(3) Ihad been thrown from the vehicle and was KIA. The IED penetrated
the crew compartment, blew the ramp offoftlte M2 and blew tbe TOW batcll off oftheM2, as well. The rest of the dismounts in the Bradley wi:rc
 KIA.

I received an initial report from CPL Markham that it was LT W e s ( ~ Ewing. and SPC Summers. I                        b{§\ b(3)           ploved lo
  /bl/3), /blr6l Jlradley and b(B) h(3) moved toj /b\(3) (bl(6) jtraek. Onco the MEDEVAC was coiled In,/                   [moved his Bradley to

Baker started to fail. I bi6) b(3}_ Lstartedl
landed, we loaded Baker,          bJ6J 1 b{3}
                                                    ~M
knock over poles and other obstacles that were on the lZ. Once the LZ was c1ear, we soourcd it and wt1ited for the aircraft to arrive. At this time,
                                                             land.resct1e breathing as the MEDEVAC aircraft was arriving, Once the MEDEVAC
                                                jin 6 , b n to the aircraft. They then departed for Ba lad.



                                                                          (b)(?)a



Once the MEDEVAC departed, we began to recover the remains of the KJA, LT West's remains were already outside of the vehicle. We removed

one oflhe dismounts that they  T'
SPC Alcxcev•s rcmairu, SOT Ewing's remains, and then SPC Summer's. We could not find anything belonging t o r n bud b(6) b(3) lhad told
                               without bim { infonncd b(6), b(3) ~ftbis and then told him lo ~rt the correction to squadron. We placed all of
lhe remains into body bags and (b)(3), (b)(6) landed to transport the remaill8 from the site. They used the same U that Cully did for lhe
MEDEVAC.

After they left, EOD took their required pietun:s of the Bradley and Dominator moved forward to begin recovery of the vehicle. My troopers policed
up all sensitive items and placed them in a bod~ bag. and placed all of the PPB inside 1hc track. At this time, I rem,=~tabli9h comms with
squadron and submll further reports. I (bl(3), b)(fil~ook lhe ltaok off of the M2 and my guys started rolling it up.I b 3 , b 6 loaded the ramp and

 10. EXHIBIT
                                                            I   11. INITIALSOFI
                                                                                     b(6)     I
                                                                                                  ING STATEMENT
                                                                                                                      I PAGE 1 OF        2        PAGES

 ADDITIONAL PAGES MUST CONTAIN THE HEADING "STATEMENT OF
                                                                             --- TAKEN AT -- DATED --
 THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STATEMENT, AND PAGE NUMBER
 MUST BE BE INDICATED.

 DA FORM 2823, OEC 1998                                      DA FORM 2823, JUL 72, IS OBSOLETE                                                 ,\Pt)Pf V1,01




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                                                                                 UNCLASSIFIED


      STATEMENT OF 6 ==.,;b;.(6;;,).;,b;.(3;;.)==-='L___ _ TAKEN AT                             Apache CP                       DATED 2007/05/30

      9. STATEMENT         (C<>n6nued)
     TOW hitch on lo• flatrack. They hadjll$I finilhed.. loading the .second tide of track and were tUQving back to the cover ofa building when 1 ~ 11:!D e !oded,
     The. bias! killed CPL Markham Instantly and threw several other troopers •~cral mctcra in tho air. I reported aoothct contact report - IBD{b}filJQ)(ef to!
(b)(    1}1fr&)Clling back on tho ground, I moved llJ> to the di1mounta and checked on my 1,uya and got 100% accountability, The second nm was within 10 feel oflhc tint
     one, £OD had bctn through the area on their hands and knee, and did not find it. and the M88 had been driving over it for about 3 houra as they loaded up lhc debris
     from the. strike and pulled the track offoflhc Bradley.

                We then emptied the sensitive hems out of the last body bag and put them inside an oVM box on th~ side ofDolJ\inator's PLS. WtJ recovered CPL
      Mu1chartfa body and placed it in the body .baa. I then a1ked EOD if they had a meam ofolearina from the M88 to the front of the Bradley. I hts) 6(3) Isaid that he
      could use det cord, but il wouldn't be effective. I then talked 1olb¢)..hWand M moved his M88 to the front oftbc Bradley and wo hooked ii up. lie backed lhe
      Bradley through the two blast 1eata and my trooper, and I policed up the rell\lining BRAT tiles, ,ide skirts, and other debris and equipmenl. Once the area was policed.
      we Io11d«t CPI, Markham', remains Into the back of A56 md began to prep for ex@.
                                                                               othingFollow,,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                           /"---~-




                                                                                     b(6), (b)(3)




                                                                                   AFFIDAVIT
               J.i              b(6), b/3)                                                , HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
         WHICH BEGINS ON PAGE 1, ANO ENDS ON PAGE     2 . I FULLY UNDERSTAND THE CONJENTS OF THE ENTIRE STATEMENT MADE
         BY ME. THE STATEMENT IS TRUE. I HAVE INITIALEDALL CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
         CONTAINING THE STATEMENT. I HAVE MADE THI$ STATEMENT FREELY WITHOUT HOPE OF BENEFIT OR REWARD, WITHOUT
         THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL INFLU,e OR UN::;;~~;:rNT.

                                                                                                             I       ~ - ul ~:~CMd"''9 ........ LI)


         WITNESSES:                                                                           Subscribed and swam to before me, a person authorized by law to
                                                                                            administer oaths, this       05                        June          , 2007
                                                                                              '!}.9 CAV Squa              Qs

                                                                                                                              b(6), b(3)
          ORGANIZATION OR ADDRESS                                                                                                  n

                                                                                                                           b(6), b(3)

                                                                                                                                (b)(3), (b)(6)
           ORGANIZAtioN OR AobRess

       INITIALS OF PERSON MAKING STATEMENT
                                                                      b(6)                                                           PAGE     ,2     OF     ),     PAGES

       PAGE 3, DA FORM 2823, DEC 1998                                                                                                                              APOPEv1.0t




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                                                                               UNCLASSIFIED

                                                                    SWORN STATEMENT
                                              For use of this form, see AR 19045; !he proponent agency is PMG.

                                                                    PRIVACY ACT STATEMENT
     AUTHORITY:                  TIiie 10 USC Section 301; TIiie 5 use Section 2961; E.O. 9397 dated November 22, 1943 (SSN/,
     PRINCIPAL PURPOSE:          To provide commanders and law enforcement officials with means by which lnformaUon may be accurately Identified.
     ROUTINE USES:               Your social security number Is used as an add!tlonaUaltemate means of ldenUflcallon to facilitate fillng and retrieval.
     DISCLOSURE:                 Disclosure of your social security number Is voluntary.
                                                                          2.    ATE (YYYYMMDD)
                                                                            '20
                                                                                                                                   7, GRADE/STATUS
                b(6                                                                                                                            J b(6)
     8. ORGANIZATION OR ADD ESS
     A TRP, 6-9 CAV, 3 BCT, I CD
     9.
           I,!!=====bc=(!:6)~,=b(S::3!:)===c!,__ _ _ _ _ _ _ , WANT TO MAKE THE FOUOWING STATEMENT UNDER OATH:
     On 28 May 2007. on or about 1800 hrs, I was told to stand up all our Bradley's, due to a Kiowa going down. I stood up TPE~2, a M2A2, with
     lhe primarly crew ofmysetrl                b(6), b(3)         h  also had 5 dismounts; LT West, SGT Ewing, SPC Summers, SPC Baker. and PVT
     Alexeev. I was the second Brndley behind.    I         b(6) b(3)          y\ trp SP from Nonnandy, and made our way to Big Abu Saidll, with out
     incident. We then staged in front of the IP station. After about twenty ruins, we where told, get ready, we where to conduct a rt
     clea111nce to the crash site, and to provide security for the B TRfi e~em:tt ;hat was air lifted to the crash site. We started making our move to Little
     Abu Saida, on orabout 2000 hrs. Right before Little Abu Saida, b (3):b (~mcon and said" Looks like a um on the 1eft side of the mad"(b)(3), {b)(6)
(b)( Q{IJ9J6)ed his dismounts, had them check the road, tbe side of the road, and aJI holes and craters. We had Intel about pos.5iblcl         b(1 )1 4a JhD's in
                                                           I
     this arca.f b(6) h[3)1 slowly made his way across. b(6). b(3)t said it was all clear, I told my driver, follow his tracks, ii was no more 1han 30 $1:eond:1
     later, a JED hit my Bradley. I felt myself lift off my seat and slart to be thrown thru the commander's halCh. I felt the heat and the blast come up lhru
     the turret lo escape thru lhe be side. My left knee hit something and that is what slop me from going any further. My eve hclment and blown off my
     head and I hlackcd out. When I came too, I checked on my gunner,
         b 6 b 3 , and he stated good, the gunner slill had his eve, so I told him, to get a status on the driver, Liiliij:h.ci.D J recieved the gond stalUs on
                 hen I tried to get to the crew compar1ment, and seen tha.1 the turret door was blown io. I was unable to open it. I started yelling (or the
     dismounts, asking by name. I found a flashlight, shined ii into the crew compariment, an~                    (b)(6)              j1 looked to the left of thl.'
     compartment and seen who appeared to be SGT Ewing. Both of them where dead. I could not sec LT West, SPC Baker. or PVT Alex~v. I told my
      gunner to gel on the radio, tell them the BC, Gunner and Driver were ok, but we needed the medic now.
      I then tried to climb out of the turret thru the be hatch. I seen disntount.s coming up behind my Bradley, and yelled to them to open the crew
      door to get my dismounts out. Some ono replied the ramp was b1own off, there was no door. I climbed out, went to the back, and seen Spc
      Bake                                                                 He was being trcaled by the hp medics. I seen another body lying about 25 feet behind
      the Bradley, against the wall, I started to go to him, and b 6 b 3 stopped me and said it was LT West, and he was already gone. j b(6), b{3) j
      climbed into lhe back of the Bradley, and started looking for any survfors, I told him to come out, I shined my light into Che crew com artment a 111ill
      could nol find PVT Alcxeev.l ~ ? . ) if came down from the turret, and we got\ b(6) b{3) lout of the driver's hatch. 6 b 3 ent l (6 , b( )
      b 6 b 3 radley in front ofus.~cnt tol b(6) b(3l /bradley behind us. I started pulling security on the medics, while they continued to work
      on Baker. CPL Markham came to me. and wanted me to go to j bf6) b(¾ )radley, he said I
      was covered in blood and he wanted me to get to cover.10 I could be look at. He walked me to the bradley. and once inside 1started check over
             b 6 ,b 3           then came into the crew compartment to get a status, then the ram came do:wn, I h(fi¼!(3) J58id we were being               r

      mcdcvac out o(there.                                Cpl Markham walk myself.~and 6 b }o the l.Z, e medics, where still working on .
       Baker. The mcdevac landed, th~ medics brought Baker, loaded him on the medevac, and then               b6 b3          and myself where loaded. Thi: medics,
       continue to work on Baker, thru out the whole flight, once on the ground the ER staff at Balad, took over and worked on Baker, for at least anolhcr 30
       mins. JI was then the Or, came to me and infonned me SPC Baker didn't ma.kc ii. The extint of my                                           □
       crews in'uries are.                                                       /                      b(6) b(3)                       '1fysclf:
                                             b 6                                      twas RTOonthc31 May2007l              b{§), b(3)       pro I c          llyundl"r
       going funher tests. t,,"11,"'1 qj,'>I, follt><->S b~6)  I       1-----------------------::::;:::7""·-
                                                                                         b(6)




                   GJ
       10. EXHIBIT                                                      11. INITIALS              N MAKING STATEMENT
                                                                                          b(6)                                    PAGE 1 OF      _:J_ PAGES
       ADDITIONAL PAGES MUST CONTAIN THE HEADING "STATEMENT OF                                   TAKEN AT             DATED

       THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STATEMENT, AND PAGE NUMBER
       MUST BE BE INDICATED.
       DA FORM 2823, DEC 1998                                          DA FORM 2623", JUL 72, IS OBSOLETE                                                  APDPEv1.01



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                USE THIS PAGE IF NEEDED, IF THIS PAGE IS NOT NEEDED, PLEASE PROCEED TO FINAL PAGE OF THIS FORM,



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9, STATIMEHT (C"1mul<Q




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                                    b(6)                                                       PASE    C OF       PAGES
 PAGE 2, DA FORM 162J. /llC 11116                                                                                    UWAYl.01



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STATEMENT OF         "-'r_ _ _r-o--'b(-'6)_,b.,;.(3.;_,)_ _-;::==::::...'.;TAXENAT
                              I
                                                                                                                                        w?,loc,/cr
                                       •       I b(6),b(3)I
9, STATEMENT /Cmud} p<>t'-; ~ ri:,\\c,,w !> ..'.::::::::::'.:::::'.'.__ _ _ _ _ _ _ _ _ _ _ _ _ _ _-------,




                                                   b(6)




                                                                          b(6)




                                                                             AIIIJAM
       1.   I                   b(G), b(J)
  WHICH BEGINS ON PAGE f.ANOENOS ON PAGE
                                                                                 .HAIUEADORHAVEHADREADTOMETIIISSTATEMENT
                                                            _ _. IRIUYUNDEHSTAIIJTIIECOIITTffTGOF TIIE ENTIRE STATEMENT MADE
  BY ME. TIIE STATEMENT IS TRUE. IHAVE INITIAUD AU COllflECTIONS AJID HAVE IHITIAlID TIIE BOTTOM OF EACH PAGE CONTAIHIIIG TIIE STATEMENT. I HAVE MADE THIS
  STATEMENT FRERI wrrnour HOPE OF BENERT OR REWARD, wmrour TIIREAT OF PDNISHMENT. AHO WITHOUT CO!RCION, UNLAWFUL INflUENCE. OR UNLAWFUL INDUCEMENT,

                                                                                                              b(6), b(3)                      I
                                                                                           0        v
  WITNESSES:                                                                           Simcliod Ind...., IObllforo IT0,1-euth>lilld l!y~w IO
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                   b(6), b(3)                                                        at

                                                                                                                           b(6), b(3)
    ORGANIZATION OR ADDRESS

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                                                                                                                 (b)(3), (b)(6)
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                                           Fon,.. olthla loon, -AR 18045; 1heproj)01l8<lt-ls PMG.

                                                                  PRIVACY ACl'STATElll!HT
AUTHORITY:                   TIiie 10USCSe<:llon 301;Tf11o5 USC6ecllon2951;E.0.9397 datad--22, 1943 /SSNJ.
PRINCIPAL PURPOSE:           Toproo.1</e""""""'1de end fawonfonlementollk:lalsv.ilh moans bywhk:h lnfonnalion may be """""""'y ldent!W.
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DISCLOSURE:                  DIJsolos119 of your aocfsl ......uy number Is vofunllly.
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                                                                                 2007/06/05
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S. lA5T NAM• ARST NMIF MIDDLE NAME                                              16-=N                                               7. G~E/STATUS
           b(6), b(3)        I                                                                   I       b(6)        I                             fb(6)]
8.0RGANIZATIONORADD~
A TRP 6-9 CAV !CO
9.
     1   I    b(6), b(3)
                                         I 6-9                                 , WANT TO MAKE lHE FOil.OWiNG STATI:MENT UNDER 0A1H:
      On29 may2007 around 1800 A TRP               CAV was called out to doaDART snissfon forabdicoplctthat wcut downjust west of tho 75 grid fine.
As we all prepped our bradleys I volunteered to be lead Btadley with my experience within the sector. We SP'ed the FOB arows<I 1820 hoUB in route
to the crashed helicopter, we bad 5 to 6 dismounlo in back ofe,,ery Bradley that wc had out oo mwioo dne to the miaioo that wc had at b!l\d S<alring
a C!lllhed helicq,ter sight We bad 6 Bndloy', ftom A TRP along with the mobile TAC rolling with us that was going to setup al the Abu saeda IP
stssllon. Wemrived al the IP statlooaround 1845 and allowed theTACtohavctimeto setup inside the IP s1atioo. Oaocev,zything was sd,,the orders
wasiriveu                    we would roll to the "'"'h site with our 6 bradleys and on< ofthewbedcd QRF p - thstoonsimd of 4 Ml I14's. Then
         b        the order ofman:b a, the fillit tluoc btads then thc 4 Ml 114's than finally the hot tluoc brads. I was the lead bnd that started our
movement heading towar<ls littlc Abu seada. A1l wc stamd to head out of big Abu seada 1htre wa, a ghortfo"11 ri8'>t oo the ouuidc village limits. The
road wa, still all bardbolt until we got to this ooe spot In the road where the road WIS totally oovcr by dirt. A1l I rolled up to the spot in the road I got out
my dismounts to clcur the mea tho best that they COllld bcfuro I would~ them up and we would continue miss!oo. The dismounts clcorcd tho am,
and n:ported back to me that it looked i,sod to them, so I mOIJllled tho dlstnousm back up on the Bmdley and evalualod thc IIC8 my sdfbefus<
pro<:ecding.1 noticed that thc wm umall crat« looldngbole on the ldl side ofthe road and on the right tide of the road then: was tin, tracks that
looked like people drove over to that side all the time. SO I told my driver to ,tay in 0 - tire- on the rioht aide the beat he oould and ,.. would
 move oot I then proceeded totheharoball oo the other side of the dirt with no problems and then! b/61, b/31 fBradk:ytll!led to try to go the SlllllO
 route that I did but unfommate!y they b i t • - swildl and it so Ju,ppened that the IED wa, oo""' ngntSloc of the road not the ldl side when: I
 had thought it might have been. The JBD blew straight up throogh the cinw compmtmentofthe Bmdley that got hit killing4 out of the S pmooal right
 on tho spot Ml>,the JBD went offl checked my crew to maio, sun: that,.. didn, get bit can,o the !ED was ,o tood that I bad tbousbt it hit my
                                                                                     !
n-~-· after noticing that ft dido, hit my Bzadlcy I called bactroil bl6), b(3) Br,dlcy to J,d a sitrop on the JBD, Come to find outthatlilmJi(J)


                                                        :::i
   a, b"~vc got blownofl'from thc blast and bi,gunncranswm<d theilldio, l a,kedbim fur asiircp and ho reported tomethotthcon:wtbrtho
 Br&dlcywas only slightly hurt but ho wasn't getting a
 of the Ind to firul out that 4 60ldim _,, dead JIil~ ~)(6.'a
 4 KIA ,nd 4 wounded and sect up the 9 linc medivso to
 wounded into my Bradley and I tried toeval-them thcbest!C<>Uld whilcthemedios oodced on thcliteruwut ooldier, I than bad\ b(6),
 few diamounts start to mazlcthc LZsil<: and:sc.urcthe ,n:a unlil the bird, arrived Then wesllll1edsc:uingup 360 scourilythc best we could
                                                                                                                                                   =
                                                                    from the diamo- in the back. SO I sent my dismoonts along with the medic to the back
                                                                                  jso .... I found that ooe miaht have a obaooe I ...d tho n:port about the
                                                                   3 to rry for me to squadron. Once the 9 line wa, sent up l stamd gdlingthc ~


 thc convoy and l start<d ,dting up priorities ofwod< as dltli:R:llt ctcmmts cl1ed< into our ndlo ftcq. We fuirt startcd with tho wallwsg woondcd and liter
 IIIK'"I sofdim and got them to lhe LZ what the helicopters aune and picked then up. Then we did the best we COllld picking up our 1i1!co 4 soldim
                                                                                                                                                                t
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 and gcttijfil/then into bod= tosj (b)/3~ fil(6) ~ plclc than up after they_wen: dollewith b~.• air uaau1t mission. We contin~ t o - ~
 LZfo~ b      rik;l%l;\rh          they came         we adod upour4 fallmsoldlOIS and they wen: aidillt,dtowashonloforus. Alth!s tsmescmesoldJCB
 reported                   ishllghts out In tho woudline din:aly oouth ofour position ,nd lhls wm sround 2200 hours about a hour aftu curfcw for civlliw
 and !hats whco 1'"'1ted to worry about the Cr1lla: Iooking ditch thotwa, on the ,oulh side of the road on thc otbonldc ofthe Br&dlcy and wen: most of
 thc dismounts wen: at this timo ,o I bad the dismounts fin: wemlng shoJs into thewodi to mat. tbosc pcnooal go away. Al this time also reoove,y
 was oo site with a PLS end M&B. SO n:oovcry operatiom bad ~ and the dlsmoonts wm p!cldng up thc !llllco blat off of the Bradley and helping
 1<COve,y load up the trac!< offlhc Bmdlcy- tho PLS. Around 0030 a """°"d JBD went ofl'oo the~ aide of the road wildl was tho same sldc as
 before in the same exact spot as the !ED wa, when it bit the Bradley oo!y a fow feet men, to the non!,. This time I rq>o<led conlaCt lED on the
  dismounts on the g r o u n d ~ one of tho dismow>ts cootacted me oo the radio to lnfunn me that tv<,!)'Olle wa, o1< except for CPI., Msnld,am
  that had been atOWld the first lED bole pitting up thc remainder ofthe Btat annor so we oould start our exfil. A1!,r cvayonc regrouped and gained
  thcn: thoughl's wc sltlrled ~~g;i, the n:maindcrof thc parts thatnocdcd throw up oo the PLS and we then got llllO!hcr body baa and shliled our
  dismowits""""' so onW bi(j{3 WOllld ride back with CPLMaskham~ body in the back ofthoCO't lk8dley. oooe we got -roo< loaded up I
  !cfhny di.mlousrts out and told them I would meet them about 100m wt of the JllD bolcsinoe I was the only bnd thst was oo the Westside ofthe bole.
  Theo we finally started our o,dil opmtions and started to head back to the FOB around 0430 in the morning and we RP'ed the FOB around 07--0730
  where we helped thc CO andj b/6). b(3 I    1-b     CPI., Markham to the aid statloo aod then about a hour w« wc condncled the hero llig!lt for Markham



    10. EXHIBIT
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                                                    11. INITlAI.S OF
                                                                 ]   b(6), (b)(3)
                                                                                  NG STl\11:MENT
                                                                                  \                                                PAGE10F           !1       PAGES
    ADDITIONAL PAGES MUS7 CONTAIN THE HEADING "STATEMENT Of                TAKENAT
                                                                                    --       DATED
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    THE 80770/d OF !!4Cli ADDITIONAL PAGE MUST BEAR TliEi IN/71ALS Of THE PERSON MAKING THE STA'JEMENT, AND PAGE NUMBER
    MUST BE BE INDICATED.
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       USARCENT FOIA FA-22-0067 Tranche1                                    UNCLASSIFIED
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STATEMENT OF



9. STATEMENT      (Oon6nuod)




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                                         b(6), (b)(3)                                  PAGE   :::;!_, OF
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STATEMENT OF    ~----b-(6_),_b(_3_),_(b_)(_3l_ _ _~TAKENAT _ _ _ _ _ _ DATED                               ,;;z.,_007060.5
9.. STATEMENT   /C-Ollonuod)




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  WHICH BEGINS ON PAGE 1, AND ENDS ON PAGE -2,_· I FULLY UNDERSTAND THE CONlcNTS OF THE ENTIRE STATEMENT MADE



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  BY ME. THE STATEMENT IS TRUE. I HAVE INITlAl.EO ALL CORRECTIONS AND HAVE INITIA!..ED THE BOTTOM OF EACH PAGE
  CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREEi.Y WITHOUT HOPE OF BENEFIT OR REWARD, WITHOUT
  THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL INFLUENCE, OR ,•1:1                                   stiilimenl,L----•-··--



  WITNESSES:                                                    Subsalbod and IIWOfll In belora me. a oeraon author\zod bl' law to
                                                              adminlateroaths, thla                   of     ::fV'- c        , 2f;.47:


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   ORGANIZATION OR ADDRESS

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                                                                                                    UNCLASSIFIED

                                                                                         SWORN STATEMENT
                                                            For use-of U\ls form, see AR 190-45: the proponent agency Is PMG.

                                                                            PRIVACY ACT STATEMENT
     AUTHORITY:                           Tille 10 use Section 301; Title 5 use Section 2951; E.o. 9397 dated November 22. 1943 (SSN).
     PRINCIPAL PURPOSE:                   To provide commanders and law enforcement officials with means by which information may be accurately Identified.
     ROUTINE USES:                        Your social security number Is used as an additlonaValternale means of ldentffication to facilitale filing and relrieval.
                                          Disclosure of yoor social security nu.mber Is voluntary,
                                                                                                 2. DATE (YYYYMMD 1
    FOB Nonnandy                                                                                           2001/06/05
     6. LAST NAME, FIRST NAME, MIDDLE NAME                                                                  6. SSN                                                          7. GRADE/STATUS
           b(6), b(3)                                                                                                                     b(6)                                                Cfila:l
     8. ORGANIZATION OR ADDR SS
     A Troop 6-9 Cav, !CD
     9
         •   I,                   I                  b(6), b(3)                                          , WANT TD MAKE THE FOLLOWING STATEMENT UNDER OATH:
   On 28 May 07 bclween 1700 and IB00hrs. We were lllcrted that a helicopter had crashed and needed to be recovered. I prepared my Bradley for lhe
    mission and recieved 7 dismounts. The troop loaded up 4 Bradleys with dismounts to accomplish the missi6h. We lined up at the south gate just like any
   other mission. The detailt to the actual mission was not yet clear. We new that a helicopter had been shot d6wn and was located south of LiUle Abu
   .Sa.du; which is known to be insurgent populated, We departed FOB Normandy and roadmarohed to Abu Sadu as a staging area for the mission. When
    we arrived at Abu Sadu QRf' I and II were already there. EOD was: already staged there as well. The commander came across ihe radio and' gave a
    FM mis.~ion brier. Our mis:sion was to deliberately clear the road and make link up with Bandit troop who Wa!l doing an air insertion into the site,
    Everyone new the road was heavily laced with IED's. The plan was to us dism                                           ts out of the Brad I s to clear ahead of the vehicles. Eve one
    acknowledged and was given theorckroftnarch and told to move oul.                                                                   b 3 , b 6                                         nd th       {b)(3), (b)(6)
(b 3              }{chicles were loaded and started to move out. We made it approximately 300m down the road along the canal wtm)'(                                                             { oun             1s
   soldiers to cl~r an area in the r o ~ das dirt. The dismounts did not see any signs of wires or mines. During this time the sun was starting lo sci.
    The dismounts loaded back up and                              moved o n . ( ~ ~ d the same area an IED                               t off. I seen the ram of the Bradley had been tom off
    and no one moving at Ihat ti~ 3                               )th4(b)(3), ~~, trying to get a sitrcp tJibt( , )(6)                                       6 ,b 3                       responded that he could
    not get a response from the dismounts and that the BC bad his ~VC blown off his head. At that titb 3 ,                                                           , ffd}ietr 1smounts uut to start
   seouring the area and rite ~he ~round team began to evacuate the casualties from the back of the Bradley. ere was 4 Kr A's and I WIA at that
    time. Two medics and              )?{f        b3) /began to work on the WIA immediately while the rest of tho team hel~X6' get out of their vehicle and
    treat !hem. We ruicved word that the piloui had been taken out of the crash site and that Bandi1 troqp had secured the site. Thd(b)(3) (b)(S~ol on the
    ground to help with evac and seeurity operation going on at the site. An evac helicopter was sent to cvac the I WIA from the back of the Bradley and
    the c:rew itsc:lf. Once they were air lifted out. The ground team began to place tho KIA remains into body bags, Security was maintained throughoul 1he
    whole time. The request for recovery assets for the Bradley was requested, but would take some time to get because QRF I and JI were staged at the
    Abu Sadu IP station. So Bandit troop dispatched two Bradleys to escort the recovery assets to the site. Once they were on site the mission focus was
    to re<:over the vehicle and wait for another helicopter for the KIA remains. As the recovery operation was being conducted another 11:D went off about
    l00 south of the original JED blast. I watched as soldiers tried to get away from the blast and was engulfed with debri. That is when we had the 6th
    KIA. EOD had cleared thearca prior to any recovery mission began. The grourld team then searched the area for anymore IEDs with the help of
    EOD. The KIA's remains were picked up and the vehicle was recovered after the area was secured and no further IEDs were found. We were told
    that the aircraft would be destroyed and that Bandit troop was going to be airlifted out of the area. We turned the the convoy around and established a
    order of march and began to move back to FOB Normandy. We returned to FOB Normandy with the es~ort of Trail Blazer. We RP'd FOB Normandy
    around 06 l5hrs on 29 May 07. During the whole ordeal we had AWI' coverage except when the AWT had to refuel. They provided coverage all the
    way back to FOB Normandy. Once we returned to our troop area we fowtd out that the I WIA dismo1,mt had died in flight. We had 6 KJAs and 3
    WIAs on a mission that went about 300m on a road that w~wn to have JEDs. The soldiers on the ground and in the area did all could have been
    asked. They stayed focused and drove on doing their bdl~~L ............... End of Statement .................................................................................. .
    .. ,................... ,.............................................................. Nothing Follows ............................................................................................................ .




                                                                                                                              N MAKING STATEMENT
                                                                                                               b(6)                                                       PAGE 1 OF             J           PAGES

     ADDITIONAL PAGES MUST CONTAIN THE HEADING "STATEMENT OF                                                                TAKEN AT                      DATED

      THE BOTTOM OF EACH ADDITIONAL PAGE MUST BEAR THE INITIALS OF THE PERSON MAKING THE STATEMENT. AND PAGE NUMBER
      MUST BE BE INDICATED,

     DA FORM 2823, DEC 1998                                                              DA FORM 2823, JUL 72, IS OBSOLETE                                                                                APDPEvt.01




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           USE THIS PAGE IF NEEDED. IF THIS PAGE IS NOT NEEDED, PLEASE PROCEED TO ANAL PAGE OF THIS FORM.

                             b(6), b(3)
STATEMENT OF   ~----------L-- TAKEN AT FOB Nonnandy                                  DATED 2007/06/05



9. STATEMENT   (Continued)




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                                          (b)(6)                                         PAGE   J. or:_3    PAGES

PAGE 2, DA FORM 2823, DEC 1998                                                                              A.PDPEv1.01


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                             b(6), b(3)
STATEMENT OF                                                 TAKEN AT        FOB Nonnandy                 DATED 2007/06/05
               '----------....J--
9, STATEMENT   (Conffnued)




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      I,        I       b(6), b(3)    I                              ,
                                                               AFFIDAVIT
                                                                      HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
  WHICH BEGINS ON PAGE 1, AND ENDS ON PAGE ..J_. I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
  BY ME. THE STATEMENT IS TRUE. I HAVE INITIALED AU CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
  CONTAINING THE STATEMENT, I HAVE MADE THIS STATEMENT FREELY WITHO~T)!OPE OF BENEFIT OR REWARD, WITHOUT
  THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL INFLUE •~-                 ,.,_,

                                                                            -' - - - - b(6), b(3)
                                                                                       -------'
                                                                                                                      ng statement)

  WITNESSES:                                                                Subscribed and sworn to!;t,e me, a person authOrized bylaw to
                                                                       administer oaths. lhls _£_.:__ day of          f •·h4.«            , 7oo7
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   ORGANIZATION OR ADDRESS

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 INITIALS OF PERSON MAKING STATEMENT
                                                                                                               PAGE 3            OF . 3    PAGES

PAGE 3, DA FORM 2323, DEC 19~                                                                                                               APDPEv1.01




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                                                                     UNCLASSIFIED

                                                          SWORN STATEMENT
                                      For use of this form, see AR 190-45; the proponent agency Is PMG.

                                                     PRIVACY ACT STATEMENT
AUlllORITY:        Title 10 USC Section 301; Title 5 USCSectlon2951; E.O. 9397 dated November22, 1943 (SSN).
PRINCIPAL PURPOSE: To provide commanders and law enforcement officials wtth means by which Information may be accurattJ\y Identified.
ROUTINE USES:      Your social security number Is used as an additlonal/attemate means of ldentiflcaUon to facilitate filing and retrieval.
                   Disclosure of your socla\ security number Is voluntaiy.
                                                           2. DATE YYYYMMDD)                                       4. I
                                                                        2007/06/04
5. LAST NAME, FIRS NAME, MIDDLE NAME                                    6. SSN                                       7. GRADE/STATUS
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8.   R
A TRP 6-9CAV ICDFT.HOOD, TX76544
9.
          j
     I,
          ~-~~~~-~---------
                b(6), b(3)                                             , WANT TO MAKE THE FOLLOWING STATEMENT UNDER OATH:
On 29 May 2007 Alpha Troop was celled to do a DART mission. Memebers of the troop prepped Bradleys and dismounts and rolled out of FOB
Nonnandy as quickly as possible. We were almost to the crash site when we came to a dirt patch in Jhe road, myself and the other guys in the back of
the lead Bradley, dismounted to checked it out, we didn't find anything and remounted. The brad l was-on tolled through no problems, the Bradley
behind us was hit underneath by an IEO, Myself and the guys !hat were together in the brad dismounted to go check for casualties. The 3 crew
members had minor injuries. The floor to the dismount compartment was blown open, the TOW hatch and back ramp were blown off. the three
dismounts in the Bradley were dead, one was throw clear and was dead. SPC Baker was on the ground behind the Bradley and was scverly injun:d hut
ali'r'e and consious. L.hub...hciiJand myself movet SPC Baker and began treating his injuries,! h(6) h(3) !joined treating him after checking the
people still in the bradley. SPC Baker lost stopped breathing and the medics began CPR, they continued CPR untill SPC Baker was moved to the
                                                                 I
medi'r'ac chopper. After him and ihe Bradley crew were flown out b(6}, b{3) hnd myself removed the bodies from the back of the Bradley. A0cr
getting them into body bags and getting them on a chopper for e\lac we started work to recover the blown up brad. We were almost complete with that
when another !ED went off a couple of feet from the first one, none of us had seen anything that would make us think that there was something lhCff.!.
All of us in the area were throw to the goround by the blast.! h'6) h(3) )tan to the area and checked to esurc eYcryone was ok. Everyone was ok
except CPL Markham wasn·t in the area. We found him dead about JO feet awayj                   b(6}             I  l collected a three man detail { I
don't recall who it was) and we put CPL Markham into a body bag and moved him to the area where e'r'~e else was. Recovet,' finished hooking up
to the destroyed Bradley and tu med around for exfil. CPL Markham wtts put into the bac~~Ji~(@-)myse1f and the group moved b!!-Ck
to FOB Normandy.




                             b(6)




 10. EXHIBIT                                                 11. INITIALS OF PERSON MAKING STATEMENT
                                                                             b(6)                                    PAGE 1 OF    _1.,_ PAGES
 ADDITIONAL PAGES MUST CONTAIN THE HEADING 'STATEMENT OF                            TAKEN AT              DATED

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STATEMENT OF                 b(6), b(3)                         TAKEN AT        APACHE CP                              DATED 2007/06/04
               '----'----'---'-~---1----
9. STATEMENT   {Conlinu•d)




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      I, .1.l_ __,;b;.(6;;.:)_,b;..(3;;.:)c__......' - - - - - - - - - · HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
  WHICH BEGINS ON PAGE 1, AND ENDS ON PAGE               2   . I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
  BY ME. THE STATEMENT IS TRUE. I HAVE INITIALEOAU. CORRECTIONS AND HAVE INITIALED THE BOTTOM OF EACH PAGE
  CONTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREELY WI                       TOR REWARD, WITHOUT
  THREAT OF PUNISHMENT, AND WITHOUT COERCION, UNLAWFUL INFLUENC                                b( ), b(J)               EMENT.
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  WITNESSES:                                                                   Subscribed and sworn to before me, a person authorized by law to

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   ORGANIZA~ION OR ADDRESS


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INITIALS OF PERSON MAKING STATEMEN
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PAGE 3, DA FORM 2823, DEC 1ffl                                                                                                                                      AP0PEV1.01




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                            Case 1:21-cv-01808-RDM          Document 41-163     Filed 12/13/23   Page 38 of 40
Page:, 38 through 70 redacted for the following rcnson:,:

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(b)(l)l.4a, (b)(l)l.4c                                           UNCLASSIFIED
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                                              (b)(1)1.4a




   Incident 725-N-309-07
   TEAM 11 - FOB NORMANDY: Team conducted a post blast analysis during route clearance
   725-RTC-085-07. While enroute to the site the second BFV in the convoy was attacked by a
   pressure wire IED buried under the road at grid MC 78525401. The BFV was catastrophically
   damaged. 4 KIA and 1 WIA were reported. The IED struck the troop compartment of the BFV.
   Team leader cleared the area and conducted post blast analysis. Crater was 3.5' deep and 4.25'
   in diameter. Fragmentation in and around the crater was consistent with a main charge of 2 ea 25
   gallon propane tanks. Initiation system was pressure wire. During recovery operations a
   secondary IED detonated approximately 5 feet from the initial blast crater (IED was under the
   disabled BFV and detonated after its removal from the blast seal) killing 1 dismounted CF soldier.
   Team leader evacuated the immediate area and conducted PBA. The crater was 5' in depth and
   7.5' in diameter, unknown initiation system, team leader estimates main charge to be
   approximately 100lbs of bulk explosive. 282100DMAY07; MC 290735DMAY07
   Reported: 281930DMAY07; Departed: 281925DMAY07
   JERRV MY01 KJ: Miles: 6543; Hours: 1242


   Pictures attached are for incident 725-N-309-07




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!'ages 72 through 73 redacted for the following reasons:

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